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UNITED STATES DISTRICT COUR']` n f,:»" MAY 2 8 20‘5
FOR THE NORTHERN DISTRICT OF TE XA`S
DALLAS DIVISION ~
CLERK, U.S.DISTRI » C {T
B /,
ZENIMAX MEDIA, INC. and § y Depuiy ; ii
ID SOFTWARE, LLC, § “'
Plaintiffs, §
§
v. § No. 3:14-CV-1849-P (BF)
§
OCULUS VR, lNC., et al., §
Defendants. §

QM_R

Before the Court are Plaintiffs’ Motion to Compel Response to Requests for Production and
Interrogatories [D.E. 137] (“Motion to Cornpel”) and Unopposed Motion to Withdraw Their Motion
to Cornpel Responses to Requests for Production and Interrogatories and Associated Appendix [D.E.
140] (“Unopposed Motion to Withdraw”) referred to United States Magistrate Judge Paul D.
Stickney. See Electronic Orders Referring Motions [D.E. 139, 142]. In the Unopposed Motion to
Withdraw, Plaintiffs seek to withdraw their Motion to Compel because the issues raised in that
motion have been resolved. See Unopposed Mot. [D.E. 140 at l]. Upon consideration of the
foregoing, Plaintiffs’ Unopposed Motion to Withdraw [D.E. 140] is GRANTED and Plaintiffs’

Motion to Compel [D.E. 137] is DENIED as moot.

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P;TJIE’§. sUCKNEY
UNITED sTATEs MAGISTRATE JUDGE

 

